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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA




DAVID L. SNYDER
in his capacity as counsel for
Andrew G. McCabe
                                                Civil Action No. 1:18-cv-1389
      Plaintiff,
                     v.

U.S. DEPARTMENT OF JUSTICE
950 Pennsylvania Ave. NW                     COMPLAINT FOR DECLARATORY
Washington, DC 20530-0001                      AND INJUNCTIVE RELIEF

                     and
                                               Request for expedited consideration
U.S. DEPARTMENT OF JUSTICE                      pursuant to 28 U.S.C. § 1657(a)
OFFICE OF THE INSPECTOR GENERAL
950 Pennsylvania Ave. NW, Suite 4706
Washington, DC 20530-0001

                     and

FEDERAL BUREAU OF INVESTIGATION
935 Pennsylvania Ave. NW
Washington, DC 20535-0001,

      Defendants.
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                                 INTRODUCTION

      1.     On Friday, March 16, 2018, at approximately 10 p.m., Andrew G.

McCabe was terminated from his position as Deputy Director of the Federal Bureau

of Investigation (“FBI”)—just 26 hours before his planned retirement—following

proceedings that violated federal law and departed from applicable administrative

rules, standards, policies, and procedures.

      2.     Because “secret law is an abomination,”1 the Freedom of Information

Act (“FOIA”) requires that the documents setting forth those rules, standards,

policies and procedures be proactively disclosed “for public inspection in an

electronic format.”2

      3.     Defendants, however, have not disclosed those materials, whether

proactively or upon request from Plaintiff as counsel for Mr. McCabe. That failure is

contrary to law. It is also incongruous with Defendants’ public, and repeated,

representations to the effect that Mr. McCabe was dismissed from the FBI following

an “extensive and fair investigation” which was carried out “according to

Department of Justice procedure.”3

      4.     Mr. McCabe served our country in various positions with the FBI for

over two decades, ascending to the position of Deputy Director in February 2016. As

the FBI’s second in command, Mr. McCabe oversaw the FBI’s operations and


1 Tax Analysts & Advocates v. IRS, 362 F. Supp. 1298, 1310 (D.D.C. 1973) (quotations
omitted).
2 5 U.S.C. § 552(a)(2).
3 Reuters Staff, Statement by Attorney General on firing of FBI’s McCabe, Reuters

(Mar. 17, 2018), https://www.reuters.com/article/us-usa-trump-sessions-
statement/statement-by-attorney-general-on-firing-of-fbis-mccabe-idUSKCN1T04O.

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investigations. Beginning in 2017, and as is publicly known, such investigations

examined the possibility of interference by the Russian government in the most

recent presidential election, as well as the conduct of high-ranking appointees in the

Executive branch. Prior to his dismissal, Mr. McCabe supported the appointment of

a special counsel to conduct a criminal investigation into matters relating to the

2016 presidential election.

      5.     Mr. McCabe had planned to retire from the FBI on March 18, 2018.

This was publicly known, discussed, and reported in the media months in advance.

Roughly one day before Mr. McCabe’s retirement, the Associate Deputy Attorney

General recommended that Mr. McCabe be fired “As soon as possible.” The Attorney

General fired him that very evening. Mr. McCabe and his family were thus stripped

of their healthcare benefits and deprived of the pension to which he otherwise would

have been entitled for his many years of public service.

      6.     Defendants claim they fired Mr. McCabe based on “findings” that he

had engaged in administrative misconduct. These alleged findings appear in a

report which, although dated “February 2018,” was not publicly issued until April

14, 2018—nearly one month after Mr. McCabe’s dismissal.4 Mr. McCabe denies that

he engaged in any misconduct and asserts that the report—which relies on non-

public “evidence”—is premised on material misstatements, mischaracterizations,

and omissions.



4OIG, Oversight & Review Division, A Report of Investigation of Certain Allegations
Relating to Former FBI Deputy Director Andrew McCabe, February 2018,
https://oig.justice.gov/reports/2018/o20180413.pdf.

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        7.    Defendants have publicly claimed, again and again, that they complied

with all applicable law, policies, and procedures when they investigated,

adjudicated, and dismissed Mr. McCabe from the FBI. Plaintiff has repeatedly

requested that Defendants disclose those policies and procedures. Those requests

have been denied by some of the same high-ranking officials who were involved in,

or were responsible for, the investigation, adjudication, and/or dismissal of Mr.

McCabe.

        8.    FOIA mandates that Defendants proactively disclose the applicable

policies and procedures in an electronic format without waiting for an affirmative

request. Defendants have failed to do so. When Plaintiff requested the pertinent

documents, Defendants variously refused to comply and failed to properly, timely,

or sufficiently respond. They even barred Plaintiff from accessing Defendants’

physical library, which contains some (or perhaps all) of the documents at issue

here.

        9.    Because Defendants have refused to identify the policies or procedures

which applied to Mr. McCabe’s dismissal and the proceedings which led to it,

Plaintiff alleges, on information and belief, that documents reflecting those policies

and procedures include, at a minimum, the following:

              a. OIG, Inspector General Manual

              b. FBI, Policy Implementation Guide for Adjudication of Delegated
                 Disciplinary Matters

              c. FBI, Senior Executive Service Policy Implementation Guide

              d. FBI, Inspection Division Policy Implementation Guide



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         10.    As counsel for Mr. McCabe, and as the submitter of the requests for

these documents, Plaintiff seeks their immediate disclosure. Plaintiff respectfully

requests expedited consideration of this Action under 28 U.S.C. § 1657(a) given the

irreparable harm and other consequences of Defendants’ continuing failure to

comply with their disclosure obligations.

         11.    Defendants have been required for over 50 years to proactively disclose

the kinds of documents at issue here, and there is no just reason for either their

failure to do so now or for any further delay. Defendants’ breach of their disclosure

obligations have prejudiced Mr. McCabe and Plaintiff in fundamental ways, all of

which flow from one of FOIA’s core concerns: No citizen should “los[e] a controversy

with an agency because of some obscure and hidden [administrative material]

which the agency knows about but which has been unavailable to the citizen simply

because he had no way in which to discover it.”5

         12.    By failing to proactively and publicly disclose the documents at issue

here, and by failing to otherwise fulfill their statutory obligations, Defendants have

deprived Plaintiff of the opportunity he should have had to protect and to advance

the legal rights and interests of Mr. McCabe. Those documents constitute not just

Defendants’ “working law,” but also, on information and belief, material evidence.

Defendants’ failure to disclose these materials has deprived Plaintiff of the

opportunity he should have had to:

                a. exhaust administrative remedies with respect to certain claims (to
                   the extent exhaustion is required);


5   111 Cong. Rec. 26820, 26822 (daily ed. Oct. 13, 1965) (stmt. of Sen. Mansfield).

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             b. support applications to certain regulatory bodies for administrative
                review and investigation of Defendants’ underlying conduct;

             c. protect Mr. McCabe from waiving or forfeiting possible
                administrative rights, remedies, or procedures which may be
                discussed solely in the administrative materials (or others of which
                Plaintiff has no notice);

             d. evaluate and pursue—with all existing evidence—claims for relief
                arising from the circumstances that led to Mr. McCabe’s
                termination; and

             e. seek to vindicate Mr. McCabe’s rights and restore his good name.

      13.    The foregoing harm to Plaintiff is immediate and irreparable. For so

long as Defendants continue to obstruct Plaintiff from fully carrying out the duties

he owes to Mr. McCabe and to the Court, the harm to Plaintiff will continue. For the

same reasons, Defendants have caused, and continue to cause, enduring irreparable

harm to Mr. McCabe.

      14.    To protect Mr. McCabe from further harm, to protect Plaintiff’s right

and ability to provide effective legal counsel to Mr. McCabe, and, indirectly, to

protect the public’s right to government transparency, Plaintiff files the instant

Action for, among other things, (a) expedited consideration of this Action, with good

cause therefor having been shown, and (b) expedited disclosure of those documents

which long should have been in the public domain.

                                      PARTIES

      15.    Plaintiff is an attorney and a partner of the law firm of Boies Schiller

Flexner LLP. He pursues this action in his capacity as counsel to Mr. McCabe, and

as the submitter of the requests and demands for the documents at issue here.




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         16.    Defendant U.S. Department of Justice (“DOJ”) is an Executive

department,6 and is an “agency” within the meaning of 5 U.S.C. § 552(f)(1) and

5 U.S.C. § 701.

         17.    Defendant Office of Inspector General (“OIG”) and Defendant Federal

Bureau of Investigation (“FBI”) are components, organizational units, bureaus, or

offices (collectively, “components”) of DOJ. Therefore, DOJ created, and at all times

material to this Action, controlled the documents at issue here.

         18.    Defendant OIG is an “office” within the DOJ. OIG created and at all

times material to this Action had control over certain of the documents here at

issue.

         19.    Defendant FBI is a law enforcement agency of the United States and

an organizational unit within the DOJ.7 The FBI created and at all times material

to this Action had control over certain of the records here at issue.

         20.    As components of DOJ, the FBI and OIG may be sued in this Action in

their own capacities.8

                            JURISDICTION AND VENUE

         21.    The Court has subject matter jurisdiction over this action and personal

jurisdiction over Defendants pursuant to 5 U.S.C. § 552(a)(4)(B).

         22.    The Court also has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 2201-02 and 28 U.S.C. § 1331.



6 5 U.S.C. § 101.
7 28 C.F.R. § 0.1.
8 Brown v. FBI, 793 F. Supp. 2d 368, 384-5 (D.D.C. 2011) (citing cases).



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      23.    Venue lies in this District under 5 U.S.C. § 552(a)(4)(B).

                          STATUTORY BACKGROUND

      24.    FOIA imposes on Defendants “both reactive and affirmative

obligations to make information available to the public.”9 Defendants’ “reactive”

disclosure obligations are set forth in § 552(a)(3) of FOIA, which provides that

agencies must “make . . . records promptly available” in response to specific

requests.”10 Defendants’ “affirmative” disclosure obligations are, as relevant, set

forth in § 552(a)(2) of FOIA and as otherwise provided by law.

      25.    Section 552(a)(2) provides in part that Defendants “shall make

available for public inspection in an electronic format” the following categories of

records:

             a. “statements of policy and interpretations which have been adopted
                by the agency and are not published in the Federal Register”;11

             b. “administrative staff manuals and instructions to staff that affect a
                member of the public”;12 and

             c. “copies of all records, regardless of form or format . . . that have
                been requested 3 or more times.”13

      26.    DOJ summarizes its “Proactive Disclosure” obligations under

§ 552(a)(2) as follows:

      [FOIA’s] “public inspection” requirement is satisfied by providing the public
      with access to the designated documents automatically and without waiting
      for a FOIA request. The proactive disclosure provision of the FOIA imposes


9 Cit. for Resp. & Ethics in Wash. v. DOJ, 846 F.3d 1235, 1240 (D.C. Cir. 2017).
10 5 U.S.C. § 552(a)(3)(A).
11 Id. § 552(a)(2)(B).
12 Id. § 552(a)(2)(C).
13 Id. § 552(a)(2)(D)(ii)(II).



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      an affirmative disclosure obligation that requires agencies to not only
      maintain, but also to continuously update, the records in each of the four
      categories designated by subsection (a)(2) of the FOIA.14

                                       FACTS

      27.    Defendants departed from, among other things, applicable law and

administrative policies and procedures in connection with the proceedings which led

to Mr. McCabe’s dismissal.

      28.    At all times material to this Action, Defendants were and remain in

violation of FOIA due to, among other things, (a) their continued failure to make the

documents that embody the above-referenced policies and procedures proactively

available for inspection in an electronic format without request, and (b) their failure

to make these documents promptly available upon Plaintiff’s requests.

      29.    The documents at issue in this Action are “records” within the meaning

of FOIA.15 They are not exempt from disclosure, either in part or in whole. But even

assuming, for the sake of argument, that any parts of the documents are exempt

from disclosure, Defendants do not have the right to withhold any document in its

entirety on the grounds that it allegedly contains “some” exempt material.16

      30.    On information and belief, Defendants fear that disclosure to Plaintiff

of the documents at issue will place Defendants and others at risk in any

proceedings brought against them by Mr. McCabe. Based on these fears,



14 DOJ, “Proactive Disclosures,” Guide to the Freedom of Information Act, 12 (2009),
https://www.justice.gov/sites/default/files/oip/legacy/2014/07/23/proactive-
disclosures-2009.pdf.
15 Id. § 552(f)(2).
16 Mead Data Cent. v. U.S. Dep’t of Air Force, 566 F.2d 242, 260 (D.C. Cir. 1977).



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Defendants appear to have preemptively decided not to disclose the documents to

Plaintiff. Any further administrative review would be futile. Defendants have also

failed to comply with the applicable time limit provisions of FOIA. Accordingly, all

administrative remedies, to the extent otherwise applicable, have been or are

deemed to be exhausted.

A.        DOJ-OIG: Improper Withholding of the Inspector General Manual

     i.           Background

          31.     OIG claims that its “mission is to detect and deter fraud, waste, and

abuse . . . and misconduct by [DOJ] personnel.”17 In pursuit of its mission, OIG

allegedly conducts “investigations of sensitive allegations involving [DOJ]

employees.”18 OIG claims that, “To ensure transparency” in respect of these

investigations, “OIG regularly posts summaries of employee misconduct findings on

its website.”19

          32.     The head of OIG, Michael E. Horowitz, has complained to Congress

when, in his view, DOJ components allegedly withheld materials from OIG in

violation of applicable law. For example, Mr. Horowitz told Congress that “The

Attorney General should not have to order [DOJ] components to provide [OIG] with




17 DOJ, Organization, Mission and Functions Manual: OIG,
https://www.justice.gov/jmd/organization-mission-and-functions-manual-office-
inspector-general.
18 OIG, About the Office (May 2018), https://oig.justice.gov/about/.
19 OIG, Top Management and Performance Challenges – 2016, at 24 (Nov. 10, 2016)

(“OIG Performance Challenges”), https://oig.justice.gov/challenges/2016.pdf.

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access to records that Congress has made clear we are entitled to review.”20 In a

hearing titled “Obstructing Oversight,” Mr. Horowitz complained about the

“substantial consequences” OIG faced due to actions that obstructed OIG’s “access

to information”:

           Actions that limit, condition, or delay access to information have substantial
           consequences for our work and lead to incomplete, inaccurate, or significantly
           delayed findings or recommendations. In order to avoid these consequences,
           the pending access issues need to be resolved promptly, hopefully through a
           . . . finding that Section 6(a) of the IG Act means what it says, namely that
           the OIG is entitled “to have access to all records . . . or other material
           available to the” [DOJ], which must be construed as timely, complete, and
           independent access to information in the [DOJ’s] possession.21

     ii.           The IG Manual Must Be Proactively Disclosed

           33.     OIG’s Inspector General Manual (“IG Manual” or “Manual”) sets forth

the guidelines, standards, rules, policies, and procedures that govern OIG, its

employees, and their work.

           34.     OIG’s FOIA log and other evidence establish that OIG has received at

least three requests for the IG Manual from members of the public. For this reason

alone, Defendants were required to make the IG Manual available for public

inspection in an electronic format without request. In addition, the Manual

constitutes (a) an “administrative staff manual” and “instructions to staff that affect




20 Access to Justice?: Does DOJ’s Office of Inspector General Have Access to
Information Needed to Conduct Proper Oversight? Before the H. of Rep., Comm. on
the Judiciary (Sept. 9, 2014) (Testimony of Michael E. Horowitz),
https://oig.justice.gov/testimony/t140909.pdf.
21 Obstructing Oversight: Concerns from Inspectors General, Before the H. of Rep.,

Comm. on Oversight and Gov’t Reform (Sept. 10, 2014) (Testimony of Michael E.
Horowitz), https://oig.justice.gov/testimony/t140910.pdf.

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a member of the public” within the meaning of FOIA,22 and (b) “statements of policy

and interpretations which have been adopted by [OIG] and are not published in the

Federal Register.”23

       35.       The statutory grant of authority to OIG includes the authority to

create and implement policies and procedures to guide the work of OIG and its

employees. OIG’s policies and procedures must “adhere to professional standards

developed by” the Council of the Inspectors General on Integrity and Efficiency

(“CIGIE”),24 an independent entity established within the executive branch, whose

mission includes addressing “integrity, economy, and effectiveness issues” in respect

of OIG and other offices of the Inspectors General.25 OIG must incorporate CIGIE’s

“standards and principles . . . into an operations manual or handbook.”26 CIGIE

instructs OIG “to monitor changes in the laws, regulations, and other guidance,”

and to revise OIG policies “as necessary.”27

       36.       OIG created the Manual to facilitate the discharge of its obligations

under federal law and applicable regulations. In addition, OIG created the Manual

in an attempt to, among other things, direct, instruct, and educate OIG employees

in the performance of their duties and to enable them to work effectively on behalf

of the public.



22 5 U.S.C. § 552(a)(2)(C).
23 Id. § 552(a)(2)(B).
24 5 U.S.C. App. § 11(c)(2).
25 Id. App. § 11(a)(2).
26 CIGIE, Quality Standards for Investigations, 1 (Nov. 15, 2011),

https://www.ignet.gov/sites/default/files/files/invprg1211appi.pdf.
27 Id.



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      37.     OIG seeks to instill public confidence in the alleged independence and

integrity of OIG. To that end, Mr. Horowitz has repeatedly made public comments

claiming that OIG abides by a “usual process . . . to ensure the accuracy,

completeness, and appropriate classification of” its reports.28 In a publicly available

letter, Mr. Horowitz claimed—twice in the same paragraph—that OIG’s

investigation of Mr. McCabe was “consistent with [OIG’s] usual practice.”29 On

information and belief, the “usual” “process” and “practice” to which Mr. Horowitz

referred are set forth in the IG Manual.

      38.     At all times material to this Action, OIG has controlled, maintained,

revised, and/or updated the Manual, and has made the Manual available to OIG

employees in its various offices across the country. In particular, OIG makes the

Manual electronically available to its employees on OIG’s internal, non-public

intranet site.

      39.     OIG makes the IG Manual available to OIG employees so as to cause

them to review it, to rely on it, and to abide by its terms. During all times material

to this Action, OIG employees have reviewed and/or relied on the IG Manual or

portions thereof in connection with their employment.

      40.     On information and belief, violation of certain of the Manual’s

provisions by OIG employees constitutes “misconduct” within the meaning of

applicable law and regulations. Violation of certain provisions contained in the IG


28 Michael E. Horowitz, OIG, Letter to Charles E. Grassley, U.S. Senate (Apr. 13,
2018), https://www.judiciary.senate.gov/imo/media/doc/2018-04-
13%20DOJ%20OIG%20to%20CEG%20-%20McCabe.pdf.
29 Id.



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Manual by OIG employees may also, among other things, (a) give rise to civil or

criminal liability, (b) constitute violations of applicable rules of professional

responsibility, or (c) constitute violations of applicable CIGIE standards. According

to OIG, misconduct by DOJ employees threatens to “erode[ ] public confidence in the

integrity of” DOJ.30 OIG reportedly believes that disciplinary systems “play a

significant role in ensuring the efficiency of government services.”31

      41.     OIG must submit to “peer reviews” by other offices of Inspectors

General. These reviews assess, among other things, whether OIG has created and

implemented “adequate policies, procedures and practices,” and whether OIG is in

compliance with CIGIE’s various standards. In connection with the peer review

process, the IG Manual must be examined in detail so as to assess OIG’s “level of

conformity with [CIGIE’s] standards.”32

      42.     OIG’s public website suggests that, in accordance with federal law,

OIG’s “staff manuals/instructions to staff” are electronically available in OIG’s

“FOIA Library.”33 Below is a recent screenshot from OIG’s public website:34




30 OIG Performance Challenges, at 24.
31 Id.
32 CIGIE, Qualitative Assessment of Compliance, App. C–1, 1 (July 2017),

https://www.ignet.gov/sites/default/files/files/QAR%20INV%20Appendix%20C-
1%20July%202017.pdf.
33 OIG, Freedom of Information Act, https://oig.justice.gov/foia/.
34 Id.



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             43.     But OIG’s electronic FOIA Library does not in fact include any “Final

Opinions and Orders,” “Policy Statements,” or “Staff Manuals and Instructions to

Staff.”35 Nor does it include the IG Manual. The following recent screenshot reveals

that OIG’s electronic FOIA Library contains none of the Materials at issue in this

Action:36




      iii.           Improper Withholding and Exhaustion

             44.     As of the date of the filing of this Complaint, Defendants (a) have not

made the IG Manual available for public inspection in an electronic format, or in

any other format, without request, (b) have not made the IG Manual promptly

available to Plaintiff upon request, and (c) have not made any “determination” on

Plaintiff’s request within the time limits required under FOIA.

             45.     Because Defendants have not made the IG Manual available for public

inspection in any format, Plaintiff made numerous attempts—from the week of

April 9, 2018 through May 21, 2018—to convince OIG to comply with the law.



35   OIG, FOIA Library, https://oig.justice.gov/foia/eroom.htm.
36   Id.

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         46.     In email correspondence with OIG’s General Counsel and Deputy

Inspector General, William M. Blier, Plaintiff requested the release of the Manual

and submitted that request in writing on April 19, 2018. Plaintiff repeatedly

requested in writing that OIG grant expedited processing of his request, and

certified the reasons for such relief.

         47.     In particular, Plaintiff explained in writing to Mr. Blier that, by

improperly withholding the Manual, OIG (a) deprived Plaintiff of a meaningful

opportunity (i) to protect his client from waiving or forfeiting applicable rights,

remedies, or procedures, and (ii) to vindicate his client’s constitutional and other

rights; and (b) deprived Plaintiff’s client of corresponding rights.37 Plaintiff further

explained in writing that OIG’s improper withholding of the Manual related to “A

matter of widespread and exceptional media interest in which there exist possible

questions about the government’s integrity which affect public confidence.”38 Mr.

Blier, acting on behalf of OIG, denied Plaintiff’s request for expedited processing by

emails dated April 25, 2018 and April 26, 2018.

         48.     By email dated April 25, 2018, Plaintiff attempted to compromise by

offering to review the Manual in paper form at OIG’s office and to “flag relevant

pages for copying at [Plaintiff’s] expense.” Mr. Blier rejected Plaintiff’s offer by

email dated April 26, 2018.




37   See 28 C.F.R. § 16.5(e)(1)(iii).
38   See id. § 16.5(e)(1)(iv).

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         49.     OIG sent a letter to Plaintiff via email on May 2, 2018 (“May 2

Letter”). The May 2 Letter, which OIG incorrectly dated as May 1, 2018, claimed

that OIG was “processing” Plaintiff’s request for the Manual. OIG also stated that

Plaintiff’s request for the Manual required OIG to “conduct[ ] a search of OIG

records.” OIG claimed to “have already located a voluminous amount of records that

may be responsive to [Plaintiff’s] request.”

         50.     OIG’s representations cannot have been accurate. OIG did not need to

conduct a “search of OIG records” to find the IG Manual, which is electronically

available to all OIG employees on OIG’s intranet site, and which OIG uses on a

daily basis. OIG also could not have “located” a “voluminous amount of records” that

“may” be “responsive” to Plaintiff’s request. OIG publicly represents that the IG

Manual is a single document. Plaintiff requested only that document. The only

document that is “responsive” to Plaintiff’s request for the IG Manual is the IG

Manual.

         51.     OIG nevertheless claimed in its May 2 Letter that, “Due to the need to

examine this voluminous amount of records to determine which are responsive and

may be subject to release, [Plaintiff’s] request falls within ‘unusual circumstances’

provisions of the FOIA.”39 OIG claimed that,

         Because of these unusual circumstances, we need to extend the time limit to
         respond to your request beyond the ten additional days provided by the
         statute. The time needed to process your request will necessarily depend on
         the volume of all potentially responsive records that are located and the
         complexity of issues presented by the records. . . . Simple requests usually



39   In support of this proposition, OIG cited to “5 U.S.C. § 552(a)(6)(B)(i)-(iii).”

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         receive a response in about a month, whereas complex requests necessarily
         take longer.

         At this time, your request has been assigned to the complex track. You may
         narrow the scope of your request, thereby limiting the volume of potentially
         responsive records, to obtain quicker processing in your currently-assigned
         track.

         52.     OIG’s May 2, 2018 response is deficient in numerous ways. For

example, OIG does not meet the “unusual circumstances” provision of FOIA, and it

failed to properly, accurately, or sufficiently “set[ ] forth the unusual circumstances

for [the] extension” to which it claimed to be entitled.40 In addition, OIG failed to set

forth “the date on which a determination is expected to be dispatched” in respect of

Plaintiff’s demand for the Manual.41

         53.     OIG also violated FOIA by failing to provide Plaintiff with an

opportunity to limit the scope of his request. OIG’s May 2 Letter supposedly invited

Plaintiff to “narrow the scope of [his] request, thereby limiting the volume of

potentially responsive records, to obtain quicker processing in your currently-

assigned track.” This alleged invitation was similar to one Mr. Blier made in an

April 26, 2018 email to Plaintiff. In that email, Mr. Blier suggested that if Plaintiff

were “able to narrow [his] request to specific topics of interest . . ., it may facilitate

our identification of that subset of records and, therefore, the time needed for our

processing of [Plaintiff’s] request.”

         54.     In reliance on these suggestions, Plaintiff endeavored to “narrow” his

request for the Manual by offering to review the Manual’s table of contents. In


40   5 U.S.C. § 552(a)(6)(B)(i).
41   Id.

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Plaintiff’s view, this exercise would allow Plaintiff to responsibly and intelligently

“narrow [his] request to specific topics of interest” in accordance with Mr. Blier’s

instruction.

      55.      OIG nevertheless rejected Plaintiff’s proposal. By email dated May 21,

2018, Counsel for OIG advised as follows: “OIG has decided that it would not be

appropriate to provide you with any table of contents because some of the

information is likely privileged and providing it is unlikely to resolve your concerns

given the nature of your demands.” Counsel further wrote that he did not “think

that continuing discussions will lead us to agreement. Thus, recognizing these facts,

and in the interest of the orderly administration of the government, we do not

intend to provide you with any” of the Materials at issue in this Action, “other than .

. . those that you may receive in response to your FOIA request.”

      56.      Plaintiff had also undertaken separate efforts to access the Manual in

accordance with OIG’s instructions. These efforts, too, were unsuccessful.

      57.      Agencies historically satisfied the proactive disclosure requirements of

FOIA by making documents like the Manual “available to the public in paper-based

collections known as ‘Reading Rooms,’ thereby compelling citizens to visit an

agency’s records collection in person.”42 On its website, OIG claims it has such a




42DOJ, “Proactive Disclosures,” Guide to the Freedom of Information Act, 12–13
(2009) (formatting altered),
https://www.justice.gov/sites/default/files/oip/legacy/2014/07/23/proactive-
disclosures-2009.pdf.

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“Conventional Reading Room” and invites citizens to “Call (202) 616-0646 for access

instructions.”43 A recent screenshot of OIG’s representation is below:




         58.     On May 3, 2018, Plaintiff called (202) 616-0646 and requested “access

instructions” to the Conventional Reading Room. OIG refused to provide those

instructions to Plaintiff. According to OIG, Plaintiff was not entitled to access the

physical FOIA Library because Plaintiff’s request for the Manual was “being

processed” under FOIA. By email of the same date, Plaintiff advised Mr. Blier that

his staff had impermissibly refused to allow Plaintiff access to OIG’s FOIA Library.

Plaintiff requested that Mr. Blier “facilitate [Plaintiff’s] access” to the library by

May 4, 2018 so that Plaintiff could “review the IG Manual.”

         59.     As of the date of the filing of this Action,

                 a. Plaintiff has not received any response from Mr. Blier;

                 b. Defendants have not made the Manual available for public
                    inspection in any format—electronic or otherwise;

                 c. Defendants have not provided Plaintiff with the Manual;

                 d. Defendants have not provided Plaintiff with access to any
                    Conventional Reading Room or physical library;

43   OIG, Freedom of Information Act, https://oig.justice.gov/foia/.

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                  e. Defendants have not provided Plaintiff with “access instructions” to
                     any Conventional Reading Room or physical library; and

                  f. Defendants have not timely provided Plaintiff with any
                     determination on his request for the Manual.

          60.     On information and belief, Defendants fear that disclosure of the

Manual to Plaintiff will place Defendants and others at risk in any proceedings

brought against them by Mr. McCabe. Based on these fears, Defendants appear to

have preemptively decided not to disclose the documents to Plaintiff. Any further

administrative review would be futile.

          61.     The IG Manual is not exempt from disclosure, whether in part or in

whole. But even assuming, for the sake of argument, that any part of the Manual is

exempt from disclosure, Defendants do not have the right to withhold the entire

document even if it contains some exempt material.

B.        FBI: Improper Withholding of the FBI Materials

     i.           Background

          62.     The FBI’s Office of Professional Responsibility (“FBI-OPR”) is

“responsible for investigating and adjudicating allegations of misconduct by FBI

employees.”44 Candice M. Will is the head of FBI-OPR. According to Defendants,

Ms. Will proposed that Mr. McCabe be dismissed from the FBI based on alleged

findings of misconduct.

          63.     On information and belief, the FBI-created documents at issue in this

Action (“FBI Materials”) include the following:


44U.S. Gen. Accounting Office, GAO-03-759T, FBI Reorganization: Progress Made
in Efforts to Transform, 58 (2004) (“GAO-FBI Report”).

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              a. FBI, Policy Implementation Guide for Adjudication of Delegated
                 Disciplinary Matters

              b. FBI, Senior Executive Service Policy Implementation Guide

              c. FBI, Inspection Division Policy Implementation Guide

      64.     Defendants have precluded Plaintiff from knowing whether other

materials not referenced in this Complaint applied to or governed any of the

proceedings or related activities which led to Mr. McCabe’s dismissal.

      65.     The FBI Materials reportedly set forth the guidelines, standards, rules,

policies, and procedures that govern the FBI, its relevant divisions, its employees,

and their work. The FBI Materials contain statements of general applicability.

Those statements reflect the standards which FBI employees allegedly use and

apply in accordance with applicable law and FBI authority. For practical purposes,

they impact and/or determine the substantive rights and/or liabilities of individuals.

      66.     The documents titled Policy Implementation Guide for Adjudication of

Delegated Disciplinary Matters and Senior Executive Service Policy Implementation

Guide reportedly set forth the guidelines, standards, rules, policies, and procedures

that may have governed and/or applied to, among other things, Ms. Will’s alleged

administrative inquiry of Mr. McCabe—a former member of the Senior Executive

Service—and his subsequent, unlawful dismissal.

      67.     As noted above, the FBI Materials also include the Inspection Division

Policy Implementation Guide. The FBI’s Inspection Division is reportedly

“responsible for reviewing FBI field offices and program divisions to ensure




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compliance with applicable laws and regulations.”45 Defendants claim that the

Inspection Division investigated Mr. McCabe in connection with the underlying

proceedings.

      68.      The FBI Materials constitute “administrative staff manuals” and

“instructions to staff that affect a member of the public” within the meaning of

FOIA.46 In addition, the FBI Materials constitute “statements of policy and

interpretations which have been adopted by [the FBI] and are not published in the

Federal Register.”47

      69.      The FBI has the authority to create and implement policies and

procedures, including the FBI Materials at issue here, to guide the work of the FBI

and its employees. The FBI’s policies and procedures, including the FBI Materials,

must be consistent with, among other things, applicable law, regulations, and

Attorney General Guidelines. At all times material to this Action, the FBI Materials

have remained under the control of the FBI.

      70.      The FBI maintains an electronic FOIA Library on its publicly-

accessible website. As of the date of the filing of this Action, the FBI Materials have

not been made publicly available, whether in the FBI’s electronic FOIA Library or

otherwise.

      71.      The FBI has maintained the FBI Materials during all times material

to this Action. The FBI has revised or updated the FBI Materials, and has made



45 Id. at 56.
46 5 U.S.C. § 552(a)(2)(C).
47 Id. § 552(a)(2)(B).



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such revisions or updates available to FBI employees in its various offices across the

country, including on the FBI’s internal, non-public intranet site. The FBI makes

the FBI Materials available so that its employees review them, rely on them, and

abide by their terms. On information and belief, during all times material to this

Action, FBI employees have reviewed and/or relied on the FBI Materials or portions

thereof in connection with their employment.

         72.     Violation of certain of the provisions contained in the FBI Materials by

FBI employees constitutes “misconduct” within the meaning of applicable rules,

regulations, policies, or administrative staff manuals, including the FBI Materials

themselves. In addition, violation of certain provisions contained in the FBI

Materials by FBI employees may, among other things, (a) give rise to civil or

criminal liability, (b) constitute violations of applicable rules of professional

responsibility, or (c) constitute violations of applicable regulations.

         73.     The FBI endeavors to deter, to investigate, and to punish misconduct,

including the misconduct that results from violating the FBI Materials, because

such misconduct jeopardizes public confidence in the FBI. To that end, the FBI

claims that it imposes disciplinary penalties with respect to such misconduct so as

“to correct behavior and send the message to our workforce, our Congressional

overseers, and the general public that misconduct will not be tolerated . . . . The

FBI’s disciplinary process serves to ensure adherence to the Bureau’s rigorous

standards of conduct.”48



48   FBI, Offense Codes and Penalty Guidelines, at 2.

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          74.     On information and belief, the FBI granted OIG and others access to

the FBI Materials and similar materials, and authorized OIG and others to cite,

quote from, and incorporate by reference the FBI Materials and similar materials

for public release.

    ii.           Improper Withholding of the FBI Materials

          75.     As of the date of the filing of this Complaint, Defendants have failed to

make the FBI Materials available for public inspection in an electronic format, or in

any other format, without request. This constitutes an improper withholding of

records in violation of applicable law.

          76.     On information and belief, the FBI Materials are not exempt from

disclosure in part or in whole. But even assuming, for the sake of argument, that

any part of the FBI Materials are exempt from disclosure, neither the FBI nor DOJ

can justify withholding the documents in their entirety simply by showing that they

contain some exempt material.

          77.     On May 3, 2018, Plaintiff emailed Ms. Will of FBI-OPR a request for

various records, which, on information and belief, encompassed the FBI Materials.

As relevant, Plaintiff requested the following items:

                  a. “For the relevant time period, the FBI’s Offense Codes and any
                     related policies, procedures, policy guidance, interpretations,
                     orders, staff instructions, etc.”

                  b. “For the relevant time period, the FBI’s Media Relations Policy and
                     any related policies, procedures, policy guidance, interpretations,
                     orders, staff instructions, etc.”




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              c. “The FBI’s current Media Relations Policy and any related policies,
                 procedures, policy guidance, interpretations, orders, staff
                 instructions, etc.”

              d. “For the relevant time period, the FBI’s Manual of Administrative
                 Operations and Procedures.”

              e. “For the relevant time period, the FBI’s Domestic Investigations
                 and Operations Guide.”

              f. “For the relevant time period, any other FBI or DOJ manuals,
                 policies, procedures, orders, memoranda of understanding, etc
                 which govern any administrative inquiries, investigations,
                 disciplinary processes, adverse actions, proposals, approvals, etc
                 relating to Mr. McCabe’s termination.”

      78.     In his email, Plaintiff advised that the FBI’s failure to make the FBI

Materials (among others) available violated FOIA and could deprive Mr. McCabe of

due process rights in connection with the proceedings leading to his termination.

Plaintiff also explained that his “requests concern a matter that’s of widespread and

exceptional interest to the public and to the media given the numerous questions

about the government’s integrity which affect public confidence.”

      79.     By email dated May 4, 2018, Ms. Will stated that she was “unable to

provide the documents [Plaintiff] request[ed].” Ms. Will advised Plaintiff that he

could seek to “obtain[ ] official FBI information” via “discovery in pending litigation;

or . . . in response to a FOIA demand.”

      80.     Ms. Will’s email response copied various individuals, including: “Scott

Schools, ADAG, ODAG, DOJ[;] Bill Blier, Counsel, OIG, DOJ[;] Dave Hardy, Section

Chief, Records Management Division, FBI[;] Jeff Good, Attorney, Human Resource




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Section, FBI” (formatting altered). Ms. Will stated that the foregoing individuals

“may be of further assistance or have a different take on the matter.”

       81.     Pursuant to Ms. Will’s suggestion, Plaintiff emailed Mr. Schools the

same day—May 4, 2018.

       82.     At all times material to this Action, Mr. Schools served as Associate

Deputy Attorney General of DOJ. Mr. Schools reportedly recommended to Mr.

Sessions, the Attorney General, that Mr. Sessions accept Ms. Will’s proposal to

terminate Mr. McCabe’s employment. Mr. Schools made this recommendation to

Mr. Sessions on Friday, March 16, 2018, roughly a day before Mr. McCabe’s

planned retirement. Mr. Schools’ recommended timetable for the dismissal was “As

soon as possible.” Mr. Sessions dismissed Mr. McCabe that same day.

       83.     In his May 4, 2018 email to Mr. Schools, Plaintiff asked whether Mr.

Schools might be available to speak over the phone to resolve the dispute over

access to the Documents, including the FBI Materials.

       84.     As of the date of the filing of this Action, Plaintiff has received no

response from Mr. Schools. Nor has Plaintiff received any correspondence or

communications from the other officials whom Ms. Will copied on her May 4, 2018

email to Plaintiff.

       85.     Plaintiff subsequently engaged in several meet-and-confer sessions

with the Federal Programs Branch of DOJ (“Counsel”), which informed Plaintiff

that it serves as Defendants’ legal counsel in connection with matters relating to

this Action. By email dated May 21, 2018, Counsel advised Plaintiff that “in the




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interest of the orderly administration of the government, we do not intend to

provide you with” the FBI records. Counsel further advised that, “in the absence of

actual litigation, [Plaintiff’s] demands are not constrained by the normal rules of

discovery, which exist, in part, to protect defendants from burdensome or otherwise

unreasonable requests.”

       86.     On information and belief, Defendants fear that disclosure of the FBI

Materials to Plaintiff will place Defendants and others at risk in any proceedings

brought against them by Mr. McCabe. Based on these fears, Defendants appear to

have preemptively decided not to disclose the documents to Plaintiff. Any further

administrative review would be futile.

       87.     Other than Ms. Will’s May 4, 2018 email, and Counsel’s May 21, 2018

email, Plaintiff has not received any other notice or determination relating to the

FBI Materials.

       88.     The FBI Materials are not exempt from disclosure, whether in part or

in whole. But even assuming, for the sake of argument, that any part of the FBI

Materials are exempt from disclosure, Defendants do not have the right to withhold

the FBI Materials in their entirety even if they contain some exempt material.

                                CAUSES OF ACTION

                             FIRST CAUSE OF ACTION
                       Violation of FOIA, 5 U.S.C. § 552(a)(2)
                         Public Inspection Without Request

       89.     The allegations of the preceding paragraphs are incorporated by

reference as if fully set forth herein.


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      90.     Plaintiff, as a member of the public, has a right under 5 U.S.C.

§ 552(a)(2) and applicable regulations to inspect, in an electronic format, and

without request, all of the documents at issue in this Action, including (a) OIG, IG

Manual, (b) FBI, Policy Implementation Guide for Adjudication of Delegated

Disciplinary Matters, (c) FBI, Senior Executive Service Policy Implementation

Guide, (d) FBI, Inspection Division Policy Implementation Guide, (collectively,

“Documents”).

      91.     Plaintiff, as a member of the public, has a right under 5 U.S.C.

§ 552(a)(2) and applicable regulations to inspect, in an electronic format, and

without request, any other information, documents, or materials (“Other

Materials”) which:

              a. allegedly were, or as a matter of law and fact should have been,
                 applicable to the investigation, adjudication, and dismissal of Mr.
                 McCabe, including any administrative inquiries, adverse action
                 proposals, recommendations, or approvals, or any other
                 proceedings, and

              b. Defendants are required to proactively disclose under 5 U.S.C.
                 § 552(a)(2).

      92.     On information and belief, all of the Documents and Other Materials

constitute “statements of policy and interpretations which have been adopted by

[Defendants] and are not published in the Federal Register.” Accordingly,

Defendants were required to make these Documents and Other Materials available

for public inspection in an electronic format without request.

      93.     On information and belief, all of the Documents and Other Materials

also constitute “administrative staff manuals and instructions to staff that affect a



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member of the public.”49 In addition, the IG Manual has been requested “3 or more

times.”50 Accordingly, Defendants were required to make these Documents and

Other Materials available for public inspection in an electronic format without

request.

         94.     Defendants have failed to make any of the Documents or Other

Materials available for public inspection in an electronic format—or in any other

format—without request. Defendants have thus improperly withheld those

Documents and Other Materials in violation of 5 U.S.C. § 552(a)(2) and applicable

regulations.

         95.     Defendants’ failure to make the Documents and Other Materials

available for public inspection without request constitutes a continuing pattern and

practice of violating the proactive disclosure requirements of FOIA and applicable

regulations.

         96.     Plaintiff has been, and will continue to be, immediately and

irreparably harmed by Defendants’ failure to make the Documents and Other

Materials available for public inspection without request.

         97.     Plaintiff is entitled to, among other things, an injunction prohibiting

Defendants from withholding the Documents and Other Materials, and to an order

requiring Defendants to immediately produce to Plaintiff true and correct copies of

those Documents and Other Materials.




49   Id. § 552(a)(2)(C).
50   Id. § 552(a)(2)(D).

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                           SECOND CAUSE OF ACTION
                  Violation of FOIA, 5 U.S.C. § 552(a)(2), (a)(6)(A)
                       Requests for Reading Room Materials


       98.     The allegations of the preceding paragraphs are incorporated by

reference as if fully set forth herein.

       99.     Because Defendants unlawfully failed to make any of the Documents

and Other Materials available for public inspection in an electronic format without

request, Plaintiff made requests and/or demands for those Documents and Other

Materials in accordance with 5 U.S.C. § 552(a)(2) and (a)(6)(A).

       100.    Following Plaintiff’s requests and/or demands for the IG Manual,

Defendants unlawfully failed to timely, properly, or sufficiently provide Plaintiff

with the determination to which he was entitled under FOIA. Defendants also

unlawfully and improperly withheld the IG Manual from Plaintiff. Plaintiff has

exhausted any and all applicable administrative remedies.

       101.    By email dated May 4, 2018, Ms. Will, on behalf of Defendants,

including Defendant FBI, stated that she was “unable” to provide Plaintiff with the

Documents and Other Materials. This constituted a notification of denial of

Plaintiff’s request for the Documents and Other Materials, including the FBI

Materials. Ms. Will’s notification of denial set forth the names and titles or positions

of each person responsible for the denial of Plaintiff’s request.

       102.    Defendants had no lawful basis for their May 4, 2018 notification of

denial of Plaintiff’s request for the Documents or Other Materials. Defendants have

thus unlawfully and improperly withheld those Documents and Other Materials


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from Plaintiff in violation of applicable law and regulations. Plaintiff has exhausted

any and all applicable administrative remedies.

       103.   Defendants additionally violated FOIA by failing to grant expedited

processing to Plaintiff under 5 U.S.C. § 552(a)(6)(E) and applicable regulations.

       104.   Plaintiff has been, and will continue to be, immediately and

irreparably harmed by Defendants’ failure to comply with applicable law.

       105.   Plaintiff is entitled to, among other things, an injunction prohibiting

Defendants from withholding the Documents and Other Materials, and to an order

requiring Defendants to immediately produce to Plaintiff true and correct copies of

those Documents and Other Materials.

                             THIRD CAUSE OF ACTION
                       Violation of FOIA, 5 U.S.C. § 552(a)(3)
                            Requests for Identified Records


       106.   The allegations of the preceding paragraphs are incorporated by

reference as if fully set forth herein.

       107.   Defendants have violated FOIA by failing to make promptly available

the Documents as required by 5 U.S.C. § 552(a)(3)(A) and applicable regulations.

Defendants have unlawfully and improperly withheld those Documents and Other

Materials from Plaintiff.

       108.   Defendants unlawfully failed to timely, properly, or sufficiently provide

Plaintiff with the determination to which he was entitled under FOIA in respect of

his request for disclosure of the IG Manual.




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       109.   Defendants additionally violated FOIA by failing to grant expedited

processing to Plaintiff under 5 U.S.C. § 552(a)(6)(E) and applicable regulations.

       110.   Plaintiff has exhausted any and all applicable administrative

remedies.

       111.   Plaintiff has been, and will continue to be, immediately and

irreparably harmed by Defendants’ failure to comply with applicable law.

       112.   Plaintiff is entitled to, among other things, an injunction prohibiting

Defendants from withholding the Documents and Other Materials, and to an order

requiring Defendants to immediately produce to Plaintiff true and correct copies of

those Documents and Other Materials.

                           FOURTH CAUSE OF ACTION
              Administrative Procedure Act (“APA”), 5 U.S.C. § 706
                       Violation of FOIA, 5 U.S.C. § 552(a)(2)
                        Public Inspection Without Request


       113.   The allegations of the preceding paragraphs are incorporated by

reference as if fully set forth herein.

       114.   Defendants have violated Plaintiff’s statutory right, under 5 U.S.C.

§ 552(a)(2), to inspect, in an electronic format, and without request, the Documents

and Other Materials. Defendants have thus improperly and unlawfully withheld

those Documents and Other Materials.

       115.   Defendants’ failure to make the Documents and Other Materials

available for inspection in an electronic format without request is reviewable by

statute and constitutes final agency action. Defendants have acted and/or failed to


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act so as to refuse to make the Documents and Other Materials available for

inspection in an electronic format without request. Defendants have done so despite

knowing that their acts and/or failure to act violate the proactive disclosure

requirements of FOIA. Defendants have completed their decision-making processes

regarding whether to comply with FOIA’s proactive disclosure requirements in

respect of the Documents and Other Materials. The direct and immediate effects of

the foregoing include the immediate and irreparable harm to Plaintiff described in

this Complaint.

         116.   Defendants’ failure to make the Documents and Other Materials

available for inspection in an electronic format without request constitutes agency

action (a) unlawfully withheld and/or unreasonably delayed, (b) that is arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law, (c) that

is in excess of statutory jurisdiction, authority, or limitations, or short of statutory

right, and/or (d) that is without observance of procedure required by law.

         117.   To the extent FOIA does not provide a remedy for Defendants’ failure

to make the Documents and Other Materials available for inspection in an

electronic format without request, there is “no other adequate remedy in a court.”51

         118.   Under the APA, Plaintiff is entitled to (a) judicial relief compelling the

action Defendants have unlawfully withheld or unreasonably delayed, and

(b) judicial relief holding unlawful and setting aside Defendants’ above-described

actions.



51   5 U.S.C. § 704.

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      119.     In particular, Plaintiff is entitled to, among other things, (a) an

injunction prohibiting Defendants from withholding from Plaintiff the Documents

and Other Materials, and (b) an order requiring Defendants to immediately produce

to Plaintiff, without request, true and correct copies of those Documents and Other

Materials.

                                REQUESTED RELIEF

WHEREFORE, Plaintiff respectfully requests that the Court:

      (1)      Expedite the consideration of this action pursuant to 28 U.S.C.

§ 1657(a);

      (2)      Enjoin Defendants

                (a)   from withholding from Plaintiff the Documents at issue in this
                      Action, including: (i) OIG, Inspector General Manual, (ii) FBI,
                      Policy Implementation Guide for Adjudication of Delegated
                      Disciplinary Matters, (iii) FBI, Senior Executive Service Policy
                      Implementation Guide, and (iv) FBI, Inspection Division Policy
                      Implementation Guide; and

                (b)   from withholding from Plaintiff any other information,
                      documents, or materials (“Other Materials”) that Defendants are
                      required—but have failed—to proactively disclose under
                      5 U.S.C. § 552(a)(2) and that applied to, or which Defendants
                      should have applied to, the dismissal of Mr. McCabe, including
                      any investigation, adjudication, administrative inquiry, adverse
                      action recommendation and approval, and any other related
                      proceedings.

      (3)      Order Defendants to electronically produce, via email to the

undersigned, and within one week of the Court’s Order (or by such date as the

Court deems appropriate), all Documents, Other Materials, and a Vaughn index of

all responsive information withheld under any claim of exemption;




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      (4)     Award reasonable costs and attorneys’ fees pursuant to 5 U.S.C.

§ 552(a)(4)(E), 28 U.S.C. § 2412(d), this Court’s inherent authority, and any other

applicable law; and

      (5)     Grant such other relief as the Court may deem just and proper.




Dated: June 12, 2018                   Respectfully submitted,

                                       BOIES SCHILLER FLEXNER LLP


                                       By: /s/ David L. Snyder

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                                       counsel for Andrew G. McCabe




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                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 DAVID L. SNYDER, in his capactiy as counsel for                                U.S. DEPARTMENT OF JUSTICE; U.S. DEPARTMENT OF
 Andrew G. McCabe                                                               JUSTICE, OFFICE OF THE INSPECTOR GENERAL;
                                                                                FEDERAL BUREAU OF INVESTIGATION

                                                         11001
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________            COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)

 David L. Snyder                                                                Justin Sandberg
 BOIES SCHILLER FLEXNER LLP                                                     Federal Programs Branch, U.S. Department of Justice
 1401 New York Avenue, N.W. Washington, DC 20005                                950 Pennsylvania Ave. NW, Suite 4706
 202 237 2727                                                                   Washington, DC 20530-0001

 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                           PTF    DFT                                                        PTF           DFT
 o     1 U.S. Government    o     3 Federal Question
         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                   Federal Tax Suits                                  462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                         Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                         defendant)                                465 Other Immigration
      230 Rent, Lease & Ejectment                                                        871 IRS-Third Party 26 USC                         Actions
      240 Torts to Land                 Prisoner Petitions                                    7609                                      470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                    Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                             625 Drug Related Seizure of
                                                                                              Property 21 USC 881                       490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                          690 Other                                     850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                     Other Statutes                                     896 Arbitration
      380 Other Personal Property
                                                                                         375 False Claims Act                           899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                               376 Qui Tam (31 USC                                Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                       3729(a))                                       Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                 400 State Reapportionment                      950 Constitutionality of State
                                                Drug Application                         430 Banks & Banking                                Statutes
                                            840 Trademark                                450 Commerce/ICC                               890 Other Statutory Actions
                                                                                             Rates/etc.                                     (if not administrative agency
                                                                                         460 Deportation                                    review or Privacy Act)
                             Case 1:18-cv-01389 Document 1-1 Filed 06/12/18 Page 2 of 2
 o     G. Habeas Corpus/                       o      H. Employment                           o     I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                   o     M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate        or Reopened         from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   5 U.S.C. §§ 552, 706: violation of proactive disclosure (and other) requirements under FOIA / APA

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $ N/A                                    Check YES only if demanded in complaint
                                             ACTION UNDER F.R.C.P. 23                                                            YES               NO
      COMPLAINT                                                                      JURY DEMAND:

 VIII. RELATED CASE(S)                       (See instruction)                                                                   If yes, please complete related case form
                                                                                 YES                    NO
       IF ANY
            June 12, 2018
 DATE: _________________________                                                                    /s/ David L. Snyder
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
                         Case 1:18-cv-01389 Document 1-2 Filed 06/12/18 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                District of Columbia
                                                 __________   District of __________

  DAVID L. SNYDER, in his capacity as counsel for                 )
              Andrew G. McCabe                                    )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No.   1:18-cv-1389
                                                                  )
        U.S. DEPARTMENT OF JUSTICE, et al                         )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. DEPARTMENT OF JUSTICE
                                       950 Pennsylvania Ave. NW
                                       Washington, DC 20530-0001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       David L. Snyder
                                       BOIES SCHILLER FLEXNER LLP
                                       1401 New York Ave., NW
                                       Washington, D.C. 20005



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:             06/12/2018
                                                                                       Signature of Clerk or Deputy Clerk
                           Case 1:18-cv-01389 Document 1-2 Filed 06/12/18 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                         Case 1:18-cv-01389 Document 1-3 Filed 06/12/18 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                District of Columbia
                                                 __________   District of __________

  DAVID L. SNYDER, in his capacity as counsel for                 )
              Andrew G. McCabe                                    )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No. 1:18-cv-1389
                                                                  )
        U.S. DEPARTMENT OF JUSTICE, et al                         )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       FEDERAL BUREAU OF INVESTIGATION
                                       935 Pennsylvania Ave. NW
                                       Washington, DC 20535-0001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       David L. Snyder
                                       BOIES SCHILLER FLEXNER LLP
                                       1401 New York Ave., NW
                                       Washington, D.C. 20005



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:             06/12/2018
                                                                                       Signature of Clerk or Deputy Clerk
                           Case 1:18-cv-01389 Document 1-3 Filed 06/12/18 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                         Case 1:18-cv-01389 Document 1-4 Filed 06/12/18 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                District of Columbia
                                                 __________   District of __________

  DAVID L. SNYDER, in his capacity as counsel for                 )
              Andrew G. McCabe                                    )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No. 1:18-cv-1389
                                                                  )
        U.S. DEPARTMENT OF JUSTICE, et al                         )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       U.S. DEPARTMENT OF JUSTICE
                                       OFFICE OF THE INSPECTOR GENERAL
                                       950 Pennsylvania Ave. NW, Suite 4706
                                       Washington, DC 20530-0001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       David L. Snyder
                                       BOIES SCHILLER FLEXNER LLP
                                       1401 New York Ave., NW
                                       Washington, D.C. 20005



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:             06/12/2018
                                                                                       Signature of Clerk or Deputy Clerk
                           Case 1:18-cv-01389 Document 1-4 Filed 06/12/18 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
